Case 3:03-cr-00078-N       Document 651        Filed 11/15/07       Page 1 of 1     PageID 3906



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA,                       )
          Respondent/Plaintiff,                 )
vs.                                             )           No. 3:03-CR-0078-N (01)
                                                )           No. 3:05-CV-0403-N
ANDRE LYNN FORD, ID # 29802-177,                )                    ECF
         Movant/Defendant.                      )

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE

       After reviewing all relevant matters of record in this case, including the Findings, Conclu-

sions, and Recommendation of the United States Magistrate Judge and any objections thereto, in

accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the

Findings and Conclusions of the Magistrate Judge are correct and they are accepted as the Findings

and Conclusions of the Court.

       SIGNED November 15, 2007.




                                             DAVID C. GODBEY
                                             UNITED STATES DISTRICT JUDGE
